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                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA


In re: VIOXX                        *                  MDL Docket No. 1657
                                    *
PRODUCTS LIABILITY LITIGATION *                        SECTION L
                                    *
                                    *                  JUDGE FALLON
This document relates to            *
Case No. 06-0810                    *
                                    *                  MAGISTRATE JUDGE
CHARLES L. MASON,                   *                  KNOWLES
                                    *
             Plaintiff,             *
                                    *
v.                                  *
                                    *
MERCK & CO., INC.,                  *
                                    *
             Defendant.             *
                                    *
* * * * * * * * * * * * * * * * * * *


           JURY CHARGE PROPOSED BY MERCK & CO., INC. (“MERCK”)


       Merck hereby submits the following proposed jury charge for the first phase of trial.

These instructions are based on the Court’s final jury charge in Smith v. Merck, and include

proposed modifications intended to reflect the facts of this case as well as applicable Utah and

federal law. Merck’s suggested changes are in “redlined” text. Any necessary explanations or

supporting authority have been placed in footnotes. For ease of reference, Merck has also noted,

in text, the location of the page breaks in the Smith jury charge.

       Merck reserves the right to add, delete, or revise its proposed instructions depending on

the evidence presented at trial, plaintiff’s proposed jury charge, or further legal analysis.
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Dated: October 23, 2006                Respectfully submitted,


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                                             UNITED STATES DISTRICT COURT
                                             EASTERN DISTRICT OF LOUISIANA

                                                                                            : MDL NO. 1657

IN RE: VIOXX                                                                                :

           PRODUCTS LIABILITY LITIGATION                                                    : SECTION: L

                                                                                            :

                                                                                            : JUDGE FALLON

                                                                                            : MAG. JUDGE KNOWLES

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THIS DOCUMENT RELATES TO
  Smith Mason v. Merck & Co., Inc., 06-081005-4379




                                                                 JURY CHARGE

           Members of the Jury:

           You have now heard all the evidence in this case as well as the final argument.

           It becomes my duty, therefore, to instruct you on the rules of law that you must follow and

apply in arriving at your decision in this case.

           In any jury trial, there are, in effect, two judges. I am one of the judges; the other is you the

jury. It is my duty to preside over the trial and to determine what testimony and other evidence is

admissible under the law for your consideration. It is also my duty at the end of the trial to instruct

you on the law applicable to the case.

           You, as jurors, are the judges of the facts. But in determining what actually happened in this

case—that is, in reaching your decision as to the facts—it is your sworn duty to follow the law I am

now in the process of defining for you and you must follow my instructions as a whole. You have

    ************************* (end of page 1 in Smith charge) *************************


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no right to disregard or give special attention to any one instruction, or to question the wisdom or

correctness of any rule I may state to you. That is, you must not substitute or follow your own

notion or opinion as to what the law is or ought to be. It is your duty to apply the law as I give it to

you, regardless of the consequences.

        By the same token, it is also your duty to base your verdict solely upon the testimony and

other evidence in the case without prejudice or sympathy. That was the promise you made and the

oath you took before being accepted by the parties as jurors in this case, and they have the right to

expect nothing less.

        This case should be considered and decided by you as an action between persons of equal

standing in the community, of equal worth, and holding the same or similar stations in life. All

persons and corporations or public entities stand equal before the law and are to be dealt with as

equals in the court of justice.

        As I stated earlier, it is your duty to determine the facts, and in so doing, you must consider

only the evidence I have admitted in the case. The term “evidence” includes the sworn testimony

of the witnesses and the exhibits admitted into the record.

        Remember that any statements, objections, or arguments made by the lawyers are not

evidence in the case. The function of the lawyers is to point out those things that are most

significant or most helpful to their side of the case, and in so doing to call your attention to certain

facts or inferences that the y are particularly concerned that you recall. In the final analysis, however,

it is your own recollection and interpretation of the evidence that controls in this case. What the

lawyers say is not binding upon you.

        Also, during the course of trial, I have occasionally made comments to the lawyers, or asked

  ************************* (end of page 2 in Smith charge) *************************




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a question of a witness, or admonished a witness concerning the manner in which he should respond

to the questions of counsel. Do not assume from anything I may have said that I have any opinion

concerning any of the facts in this case. In arriving at your own findings as to the facts, you should

disregard anything I may have said during the trial, except for my instructions to you on the law.

       The law of the United States permits the judge to comment on evidence presented during a

case. I do not believe that I have made any comments on the evidence in this case. If you could

possibly construe any remarks which I have made during the course of this trial, however, as a

comment on the evidence, then I instruct you that any such comment on my part is only an

expression of my opinion as to the facts, and you, the jury, may disregard such comment or

comments entirely since yo u, as jurors, are the sole judges of the facts in this case.

       While you should consider only the evidence in the case, you are permitted to draw such

reasonable inferences from the testimony and the exhibits as you feel are justified in the light of

common experience. In other words, you may make deductions and reach conclusions that reason

and common sense lead you to draw from the facts that have been established by the testimony and

evidence in this case.

       You may consider either direct or circumstantial evidence. “Direct evidence” is the

testimony of one who asserts actual knowledge of a fact, such as an eyewitness. “Circumstantial

evidence” is proof of a chain of facts and circumstances indicating a fact to be proved. The law

makes no distinction between the weight to be given to either direct or circumstantial evidence.

       In deciding this case, you are expected to use your good sense. Give the evidence and the

testimony of the witnesses a reasonable and fair interpretation in the light of your knowledge of the

natural tendencies of human beings.

  ************************* (end of page 3 in Smith charge) *************************




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       In weighing the testimony and in determining the credibility of any witness, you may

consider the conduct of the witness, his or her bearing on the witness stand, his or her personal

feelings as demonstrated by his or her testimony and his or her actions, any interest he or she may

have in the outcome of the case, any prejudice or bias he or she may have shown, and any partiality

he or she may have demonstrated.

       If a witness is shown to have testified falsely concerning any material matter, you have a

right to distrust such witness’ testimony on other matters and you may distrust all of the testimony

of that witness.

       You should keep in mind, of course, that a simple mistake by a witness does not necessarily

mean that the witness was not telling the truth as he or she remembers it because people may forget

some things or remember other things inaccurately. So, if a witness has made a misstatement, you

need to consider whether that misstatement was an intentional falsehood or simply an innocent

lapse of memory; and the significance of that may depend on whether it has to do with an important

fact or with only an unimportant detail.

       The testimony of a single witness may be sufficient to prove any fact, even if a greater

number of witnesses may have testified to the contrary, if after considering all the other evidence

you believe that single witness.

       When knowledge of a technical subject matter may be helpful to the jury, a person who has

special training or experience in that technical field may be called as an expert witness and is

permitted to state his opinion on those technical matters. Such witnesses have testified in this case.

You are not, however, required to accept that opinion. As with any other witness, it is up to

you to decide whether to rely upon it.

  ************************* (end of page 4 in Smith charge) *************************




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       If you should decide that the opinion of an expert witness is not based upon sufficient

education and experience, or if you should conclude that the reasons given in support of the

opinions are not sound, or that the opinion is outweighed by other evidence, then you may disregard

the opinion entirely.

       In deciding whether to accept or rely upon the opinion of an expert witness, you may

consider any bias of the witness, including any bias you may infer from evidence that the expert

witness has economic, philosophical, or any other interest in the outcome of the case.

       Certain testimony has been presented to you through a video deposition. A deposition is the

sworn, recorded answers to questions asked to a witness in advance of the trial. Under some

circumstances, if a witness cannot be present to testify from the witness stand, that witness’

testimony may be presented, under oath, in the form of a deposition. Some time before this trial,

attorneys representing the parties in this case questioned the witness under oath. A court reporter

was present and recorded the testimony. The questions and answers were presented by video to you.

This deposition testimony is entitled to the same consideration, is to be judged by you as to

credibility, and weighed and otherwise considered by you insofar as possible in the same way as if

the witness had been present and had testified from the witness stand in court.

       During the course of trial, you will have heard objections to evidence. Sometimes these

have been argued out of the hearing of the jury.

       It is the duty of the attorney on each side of a case to object when the other side offers

testimony or other evidence which the attorney believes is not properly admissible. You should not

draw any inference against or show any prejudice against a lawyer or his client because of the

making of an objection.

  ************************* (end of page 5 in Smith charge) *************************




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        Upon allowing testimony or other evidence to be introduced over the objections of an

attorney, the Court does not, unless expressly stated, indicate any opinion as to the weight or effect

of such evidence. As stated before, you, the jury, are the sole judges of the credibility of all

witnesses and the weight and effect of all evidence.

        When the Court has sustained an objection to a question addressed to a witness, the jury

must disregard the question entirely and may draw no inference from the wording of it or speculate

as to what the witness would have said if permitted to answer the question.

        During the course of trial, I have occasionally asked a question of a witness in order to bring

out facts not then fully covered in the testimony. Do not assume that I hold any opinion on the facts

to which my question or questions may have related. Remember at all times, you, as jurors, are the

sole judges of the facts.

        Any notes that you have taken during this trial are only aids to your memory. If your

memory differs from your notes, you should rely on your memory and not on the notes. The notes

are not evidence. If you have not taken notes, you should rely on your independent recollection of

the evidence and should not be unduly influenced by the notes of other jurors. Notes are not entitled

to any greater weight than the recollection or impression of each juror about the testimony.

        This lawsuit arises out of Robert Garry SmithCharles Mason’s use of Vioxx. Merck

manufactured Vioxx. The Plaintiff, Garry SmithCharles Mason, contends that he suffered a heart

attack as a result of his use of Vioxx. The Plaintiff seeks compensatory dama ges proximately

caused by his injury. He seeks recovery under any of several separate theories of recovery.

        First, the Plaintiff alleges that Merck failed to warn, or inadequately warned, his treating

physician and nurse practitioner of a risk associated with Vioxx. The Plaintiff asserts this claim

under both a strict liability




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     ************************* (end of page 6 in Smith charge) *************************

theory and a negligence theory. Second, the Plaintiff alleges that Merck is liable for fraud because

it knowingly failed to disclose known risks associated with Vioxx to Garry SmithCharles Mason’s

treating physician and nurse practitioner.

          Merck contends that its warning to Garry SmithCharles Mason’s prescribing

physiciantreating physician and nurse practitioner was adequate and complied with the rules of the

FDA. Merck also asserts that it acted reasonably and that it disclosed to the FDA and the medical

community all relevant Vioxx safety data and risk information available at the time Garry

SmithCharles Mason’s physician nurse practitioner prescribed Vioxx to him. Finally, Merck

contends that Vioxx did not cause or contribute to Garry SmithCharles Mason’s injuries.

          Although both of the Plaintiff’s theories of recovery have been tried together, each is

separate from the other, and each party is entitled to have you separately consider each claim.

Therefore, in your deliberations, you should consider the evidence as it relates to each claim

separately, as you would have if each claim had been tried before you separately. The Plaintiff is

not required to prove both of these theories in order to recover. Proof of his claim under either

theory would enable you to find that he is entitled to a verdict in his favor. 1

          The mere fact that the Plaintiff ma y have been injured, standing alone, does not permit you,

the jury, to draw any inference that such injuries were caused by Merck.

          Let me now discuss the law applicable to each of the Plaintiff’s theories of recovery.

FAILURE TO WARN

          I will now discuss with you the law governing the Plaintiff’s first claim, failure to warn.



1
    This language invites a fatally inconsistent – and thus improper – verdict.



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       The burden of proof is on the plaintiff in a civil action, such as this one, to prove every

essential element of his claim by a “preponderance of the evidence.” A preponderance of the

evidence means such evidence as, when considered and compared with that opposed to it, has more

  ************************* (end of page 7 in Smith charge) *************************

convincing force and produces in your minds a belief that what is sought to be proved is more likely

true than not true. In other words, to establish a claim by a “preponderance of the evidence” means

to prove that the claim is more likely so than not so.

       In determining whether any fact has been proved by a “preponderance of the evidence” in

this case, you may, unless otherwise instructed, consider the testimony of all witnesses, regardless

of who may have called them, and all exhibits received in evidence, regardless of who may have

produced them. If the proof should fail to establish any essential element of the Plaintiff’s claim by

a preponderance of the evidence, you, the jury, should find for the Defendant as to that claim. The

Plaintiff need not produce every possible witness, and he need not prove his claim beyond a

reasonable doubt, as is necessary in a criminal prosecution. But speculation or mere possibility and

even unsupported probability is not sufficient to support a judgment in his favor.

       Under the law applicable to this case, theories of negligence and strict liability in failure to

warn cases have been deemed functional equivalents. Thus, whether analyzed under a negligence

or a strict liability theory, the test used in evaluating warning issues is one of reasonableness. In

order to decide the Plaintiff’s failure to warn claim, therefore, you must determine whether the

Plaintiff has proven by a preponderance of the evidence that Merck failed to adequately warn his

prescribing treating physician, Dr. Douglas Vogeler, and nurse practitioner, Karen Olson-Fields, of

a heart attack risk created by Vioxx that was known or reasonably scientifically knowable to Merck




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at that time, and, if so, whether Merck’s failure to warn was a proximate cause of Garry

SmithCharles Mason’s heart attack and resulting injuries.

        Prescriptio n drugs often cause unwanted side effects despite the fact that they have been

carefully designed and properly manufactured. The law deems such products “unavoidably

unsafe,” but they are not defective, nor unreasonably dangerous, if they include adequate warnings

    ************************* (end of page 8 in Smith charge) *************************

of potential side effects.

        Under the applicable law, a prescription drug manufacturer only has a duty to warn a

“learned intermediary,” such as a physician, of the potential risks or dangers inherent in a product.

It does not have a duty to warn the consumer directly. 2 This is because a physician is generally in a

superior position to impart the warning to the patient, and can provide an independent medical

decision as to whether use of the drug is appropriate for a particular patient. Although a

prescription drug manufacturer’s duty to warn of the potential risks of its product is directed only to

the reasonably prudent physician and not to the consumer, the ma nufacturer is directly liable to the

patient for breach of such duty.

        When a prescription drug manufacturer provides a warning, it may reasonably assume that it

will be read and heeded by the prescribing physician or nurse practitioner. 3 Providing an adequate

warning to the prescribing physician or nurse practitioner relieves the manufacturer of its duty to

warn the patient regardless of how or if the physician or nurse practitioner warns the patient.


2
 See Schaerrer v. Stewart’s Plaza Pharmacy, Inc., 79 P.3d 922, 928 (Utah 2003) (“We next
consider the learned intermediary rule. Under this rule, manufacturers of prescription drugs have a
duty to warn only the physician prescribing the drug, not the end user or patient.”).
3
 See MUJI 12.6-12.7: Strict Liability – Failure to Warn (Alternates A & B) (“Where a warning is
given, the defendant may reasonably assume that it will be read and heeded. A product bearing
                                                                     (footnote continued next page)



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           A warning is inadequate if the manufacturer fails to give a reasonably prudent physician

warning of a particular risk that was known or knowable to the manufacturer in light of the

generally recognized and prevailing best scientific and medical knowledge available at the time of

manufacture and distribution. The drug manufacturer has a duty to take reasonable precautions to

provide an adequate warning that would place prescribing physicians on guard against the harmful

consequences that might result from use of the product. The duty to warn includes the dut y to warn

with a degree of intensity that would cause a reasonable prescribing physician to exercise caution

commensurate with the potential danger. The manufacturer may communicate the warning through

an FDA approved label or package insert, or other communications or literature that give

information on the risks of the drug. In determining the scope of a manufacturer’s duty to warn of

dangers associated with the use of its product, the manufacturer is held to the knowledge and skill

of an expert in its field. The manufacturer must keep up with scientific knowledge, discoveries, and

advances and is presumed to know what could be learned by doing so and has a continuing duty to

appraise consumers through their learned intermediaries of new information bearing upon a drug’s

risks. 4

           In order to prove his failure to warn claim, the Plaintiff must not only show that Merck’s

    ************************* (end of page 9 in Smith charge) *************************

warnings regarding Vioxx were inadequate, but also that such inadequacy affected the decision of

his prescribing physician or nurse practitioner to prescribe or not to prescribe Vioxx. In other


such a warning, which is safe for use if it is followed, is not in a defective condition, nor is it
unreasonably dangerous.”).
4
 This language was added in the Smith case based on Kentucky law – specifically, Sandoz Pharms.
Corp. v. Gunderson, Nos. 2004-CA-1536-MR and 2004-CA-1537-MR, 2005 WL 2694816 (Ky. Ct.
App. Oct. 21, 2005) – and has no application in this case.




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words, the Plaintiff must show that his doctor or nurse practitioner would not have prescribed Vioxx

to him if Merck had provided an adequate warning. The manufacturer has no duty to warn a

physician or nurse practitioner who already has independent knowledge of the risks associated with

the prescription drug. Moreover, if the prescriber unreasonably ignores the warning, or fails to

exercise ordinary care, the manufacturer is not liable for any injuries caused by the patient’s use of

the product. An adequate warning to the profession may be eroded or even nullified by over-

promotion of the drug through a vigorous sales program which may have the effect of persuading

prescribing physicians to disregard the warnings given. 5

       Finally, in order to prove his failure to warn claim, Plaintiff must also prove that Vioxx

caused his heart attack. I will discuss causation separately.

       If the greater weight of the evidence does not support the claim of the Plaintiff, your verdict

should be for Merck. you should answer “no” to Question No. 1 on the special verdict form. If the

greater weight of the evidence, however, does support the claim of the Plaintiff, then your verdict

should be for the Plaintiff.you should answer “yes” to Question No. 1.



FRAUD

       I will now discuss with you the law governing the Plaintiff’s second claim, his fraud claim.

Unlike the Plaintiff’s first claim, which must only be proven by a preponderance of the evidence,

the Plaintiff must prove each element of his fraud claim by clear and convincing evidence. Clear

and convincing evidence is an elevated standard of proof, which lies between the lesser standard of

“preponderance of the evidence,” and the higher standard of “beyond a reasonable doubt,” which is


5
 Utah courts have not recognized an “overpromotion” exception to the learned intermediary
doctrine. This language is thus unsupported by Utah law.



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required in criminal cases. Clear and convincing evidence is that degree of proof which will

produce in your mind a firm belief as to the allegations sought to be established.

         To establish this claim, the Plaintiff must show that Merck knowingly failed to disclose to

Dr. Vogeler and Nurse Olson-Fields his prescribing physician a known risk that Vioxx causes heart

attackscreated by Vioxx that was known at the time, and that Merck’s

  ************************* (end of page 10 in Smith charge) *************************

non-disclosure caused Mr. Mason’s was a proximate cause of his heart attack and resulting injuries.

         Non-disclosure, or silence, becomes fraudulent when it is the duty of the party having

knowledge of the facts to reveal them and that party fails to do so. Where material facts are

accessible to the seller only and the seller knows that they are not within the reach of the diligent

attention, observation, and judgment of the purchaser’s treating physician or nurse practitioner, the

seller is bound to disclose such facts and make them known to the purchaser’s treating physician or

nurse practitioner. In such a situation, the seller’s non-disclosure of these facts is equivalent to

fraud.

         To be fraudulent, the seller must fail to disclose a matter of fact, rather than an opinion. The

distinction between a fact and an opinion is generally characterized by what is susceptible of exact

knowledge when the omission is made.

         The non-disclosure must also be material. If an objective, reasonable prescribing physician

or nurse practitioner would have viewed the omitted fact as sufficiently important and significant

that it would have played a role in his decision to prescribe Vioxx, then the non-disclosure may be

deemed material. To say it another way, the matter is material if a reasonable prescribing physician

or nurse practitioner would attach importance to its existence or nonexistence in determining

whether or not to prescribe Vioxx.




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       To recover for fraud in a pharmaceutical case, the Plaintiff’s prescribing physician or nurse

practitioner must have relied on the alleged non-disclosure. If the Plaintiff’s physician or nurse

practitioner either was aware of the omitted facts or would have prescribed Vioxx anyway, the

Plaintiff cannot recover under this theory because his physician or nurse practitioner could not have

relied on the omission. A victim of fraud has a right to rely on the information provided so long as

his reliance is not reckless or grossly negligent. The right to rely must be determined in light of the

duty of the Plaintiff’s prescribing physician or nurse practitioner to use reasonable prudence and

diligence under the circumstances in ascertaining the truth with respect to the representations or

omissions made to him. The

  ************************* (end of page 11 in Smith charge) *************************

legitimacy of the physician’s or nurse practitioner’s reliance on the misrepresentation or omission is

an issue to be decided by you, the jury.

       Finally, in order to prove his fraud claim, Plaintiff must also prove by clear and convincing

evidence that Vioxx caused his heart attack. I will discuss causation in a moment.

       If Plaintiff’s fraud claim is not supported by clear and convincing evidence, you should

answer “no” to Question No. 2 on the special verdict form. However, if clear and convincing

evidence does support the claim of the Plaintiff, then you should answer “yes” to Question No. 2.

CAUSATION

       In order for the Plaintiff to prevail on either of his claims, he must establish that Vioxx was a

the proximate cause of his alleged injuries. To prove his failure to warn claim, the Plaintiff must

prove proximate causation by a preponderance of the evidence. To prove his fraud claim, the

Plaintiff must prove proximate causation by clear and convincing evidence.




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       Proximate cause means the efficient cause or direct cause. The law defines proximate cause

as something that produces a natural chain of events which, in the end, bring about the injury. In

other words, proximate cause is the cause without which the injury would not have occurred.

Proximate cause requires proof of both causation in fact and legal cause.

       Causation in fact is proved by establishing that the Plaintiff’s injury would not have

occurred “but for” the Defendant’s actions. In order to prove cause in fact in this case, the Plaintiff

must show to a reasonable degree of medical certainty both that Vioxx can cause heart attacks and

was a cause of Garry Smith’s and that it did cause Charles Mason’s heart attack.

       Legal cause is proved by establishing foreseeability. The test of foreseeability is whether

some injury to another is the natural and probable consequence of the complained of conduct. The

law requires only reasonable foresight. It is not necessary for the Plaintiff to demonstrate that the

Defendant should have foreseen the particular event which occurred, but merely that the

Defendant should have foreseen that its actions would probably cause injury to someone. The

Plaintiff proves legal cause by establishing the injury in question occurred as a natural and probable

consequence of the Defendant’s actions.

  ************************* (end of page 12 in Smith charge) *************************

       Proximate cause does not mean the sole cause. The Defendant’s conduct can be a proximate

cause if it was at least one of the direct, concurring causes of the alleged injury. However, the

Plaintiff must show that it is more likely than not that the conduct of the Defendant was a

substantial factor in bringing about the result. Moreover, the Plaintiff must prove that Vioxx caused

his heart attack. He must convince you, the jury, of this fact through the testimony of proffer a

competent medical expert to who testifiesy to a reasonable degree of medical probability that Vioxx

was a substantial factor in causing his injuries caused Mr. Mason’s heart attack.




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VOLUNTARY WITHDRAWAL OF VIOXX

       You have heard testimony about Merck’s voluntary withdrawal of Vioxx from the market in

September 2004. You may not consider that fact as evidence that Vioxx was defective or

defectively designed or that Merck was negligent or acted culpably. You may also not consider that

fact as evidence that Merck did not adequately warn of the risks associated with taking Vioxx or as

evidence that Vioxx can cause injuries such as those alleged by Garry SmithCharles Mason. You

may, however, consider this withdrawal for other purposes, such as proving ownership, control, or

feasibility of precautionary measures.

FDA CERTIFICATION

       Compliance with an FDA regulation may establish that the manufacturer met the appropriate

minimum standards of due care. You must presume that the Vioxx label approved by the FDA in

April 2002 adequately warned Dr. Vogeler and Nurse Olson-Fields of all known or reasonably

knowable risks of heart attack. Therefore, both Plaintiff’s failure to warn claim and his fraud claim

must be based solely on heart attack risks that became known or knowable to Merck only after April

2002 and before Nurse Olson-Fields prescribed Vioxx to Mr. Mason. If you conclude that no

additional risks became known or knowable to Merck during that time, or if you conclude that

Merck adequately disclosed any such risks, then you must answer “no” to Questions No. 1 and No.

2 on the special verdict form. 6 , but compliance does not necessarily absolve the manufacturer of all

liability, nor does it establish that the warnings at issue were adequate. Even if you find that the


6
  In the alternative to this proposed language regarding “FDA Certification,” Merck submits the
instructions attached hereto as “Rider A” and “Rider B.” These alternative instructions were also
offered in Smith.




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Defendant Merck met all government regulations and requirements, such compliance is not a

defense if a reasonable and prudent manufacturer would have taken added precautions or if you find

that Merck failed to appraise treating physicians of risks that became known or should have became

known after the FDA approved the Vioxx label.

  ************************* (end of page 13 in Smith charge) *************************

DAMAGES

       Now let me speak with you about damages. “Damages” in this compensatory phase of the

case is the term in dollars and cents which expresses the injuries sustained by the Plaintiff. If the

Plaintiff has proven one or more of his claims against Merck, you must determine the amount of

compensatory damages to which the Plaintiff is entitled. You should not interpret the fact that I

give you instructions about the Plaintiff’s damages as an indication in any way that I believe that the

Plaintiff should, or should not, win this case. It is your task first to decide whether Merck is liable.

I am instructing you on damages only so that you will have guidance in the event that you decide

Merck is liable and the Plaintiff is entitled to recover money from Merck.

       The Plaintiff claims that he has suffered a heart attack as a result of his use of Vioxx. He is

entitled to recover compensatory damages if he has proven either of the above theories of recovery.

If you find that the Plaintiff has proven one or more of his claims, then you must determine the

amount of compensatory damages to which he is entitled. Compensatory damages are not allowed

as a punishment against a party. Whether or not punishment is warranted in this case may be

determined at a later time, for now you must only consider the issue of compensatory damages.

       Compensatory damages cannot be based on speculation, for it is only actual damages that

are recoverable. However, compensatory damages are not restricted to actual loss of time or

money; they include both the mental and physical aspects of the injury, tangible and intangible.




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They are an attempt to make the Plaintiff whole, or to restore him to the position he would have

been in if the accident had not happened.

        You should consider the following elements of damages to the extent you find that the

Plaintiff has established such damages by a preponderance of the evidence: past loss of earnings;

    ************************* (end of page 14 in Smith charge) *************************

past, present, or future physical pain and suffering, including physical disability, impairment, and

inconvenience, and the effect of the Plaintiff’s injuries and inconvenience on the normal pursuits

and pleasures of life; past, present, or future mental anguish and feelings of insecurity caused by

disability; medical expenses; and the reasonable value, not exceeding actual cost to the Plaintiff, of

medical care that you find from the evidence will be reasonably certain to be required in the future

as a proximate result of the injury in question.

        If you determine that Garry Smith is entitled to recover damages for his injuries, your award

should include compensation for losses attributable or related to his pre-existing physical condition

but only if, and to the extent that, such pre-existing condition was aroused or aggravated by Merck’s

conduct. 7

        Some of these damages, such as mental or physical pain and suffering, are intangible things

about which no evidence of value is required. In awarding these damages, you are not determining

value, but you should award an amount that will fairly compensate the Pla intiff for his injuries.

        Also, in the event you find that the Plaintiff is entitled to receive an award for mental and/or

physical disability, or mental and/or physical pain and suffering, past, present, or future, I instruct




7
 This language was added in the Smith case based on Kentucky law and has no application in this
case.



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you that such an award is not subject to income tax; neither the state nor federal government will

tax it. Therefore, you should determine the amount that the Plaintiff is entitled to receive without

considering the effect of taxes upon it.

        Also, if you find that there is a reasonable likelihood that Garry Smith may suffer future

harm as a direct result of his injuries, you may include in your award a reasonable enhancement for

the increased risk of such future harm. If you award enhanced damages for an increased risk of

future harm, the amount of such enhancement should reflect your assessment of the percentage by

    ************************* (end of page 15 in Smith charge) *************************

which Garry Smith’s risk of such future harm is greater than it was before he took Vio xx. 8

        If you make any award for future medical expenses, you should adjust or discount the award

to present value by considering what return would be realized on a relatively risk free investment if

it were invested over the period of time in which the medical expenses were likely to occur.

        However, you must not make any adjustment to present value for any damages you may

award for future pain and suffering or future mental anguish.

        Suggestions as to the amount of damages that should be awarded are mere arguments of

counsel. You may consider them and use them only as guidelines to whatever extent they may aid

you in arriving at a reasonable and just award in view of the evidence. But you are in no way bound

by, nor should you use, any rigid mathematical formula. The determination of damages is solely

your function and must be based on competent evidence.




8
 This language was added in the Smith case based on Kentucky law and has no application in this
case.



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       Again, the mere fact that I have given you instructions on the law of damages does not in

any way suggest that I believe that any damages are due in this case. Whether or not the Plaintiff is

entitled to recover and whether or not any damages are due is for you to decide.

CONCLUDING INSTRUCTIONS

       It is your sworn duty as jurors to discuss the case with one another in an effort to reach a

unanimous agreement, if you can do so. Each of you must decide the case for yourself, but only

after full consideration of the evidence with the other members of the jury. While you are

discussing the case, do not hesitate to re-examine your own opinion and change your mind if you

become convinced that you are wrong. Do not, however, give up your honest beliefs solely because

the others think differently or merely to finish the case.

       Remember that in a very real way you are the judges—judges of the facts. Your only interest

  ************************* (end of page 16 in Smith charge) *************************

is to seek the truth from the evidence in the case.

VERDICT FORM

       I have prepared a special verdict form for your convenience and to aid you in reaching a

unanimous decision. You will take the form with you to the jury room. The verdict must represent

the considered judgment of each juror.

       You will note that the form contains several interrogatories or questions. The answer to

each question must be the unanimous answer of the jury. In the space provided below each

question, you will find directions which instruct you either to answer the next question, to answer

some other question, or to stop and return to the courtroom with your verdict. You must carefully

follow these directions as you complete the form.

       [READ THE VERDICT FORM]




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       When you retire to the jury room to deliberate on your verdict, you may take this charge

with you as well as exhibits which the Court has admitted into evidence. First, select your

foreperson and then conduct your deliberations. If you recess during your deliberations, follow all

of the instructions that the Court has given about your conduct during the trial. After you have

reached your unanimous verdict, your foreperson is to fill in on the form your answers to the

questions. Do not reveal your answers until such time as you are discharged, unless otherwise

directed by me. You must never disclose to anyone, not even to me, any numerical division on any

question.

       If you want to communicate with me at any time, please give a signed written message or

question to the Marshall, who will bring it to me. I will then respond as promptly as possible, either

in writing or by having you brought into the courtroom so that I can address you orally. I will

always first disclose to the attorneys your question and my response before I answer your question.

  ************************* (end of page 17 in Smith charge) *************************

       After you have reached a verdict, you are not required to talk with anyone about the case

unless the Court orders otherwise. You may now retire to the jury room to conduct your

deliberations.


  ************************* (end of page 18 in Smith charge) *************************




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                                             “RIDER A”


                                           FDA Approval


       The FDA is the expert federal public health agency charged by Congress with ensuring that

drugs are safe and effective and that their labeling adequately informs physicians of risks and

benefits of the product and is truthful and not misleading. The FDA carefully controls the content

of labeling for a prescription drug because labeling is the FDA’s principal tool for educating

healthcare professionals about the risks and benefits of the approved product to help ensure safe and

effective use. If you find that Merck’s labels for Vioxx were approved by the FDA, you must

presume that Merck’s warnings were adequate.




Authority: Buckman Co. v. Plaintiffs’ Legal Comm., 531 U.S. 341, 353 (2001) (permitting state-
court juries to impose their judgments on the adequacy of the drug approval process under state- law
standards “would exert an extraneous pull on the scheme established by Congress” to protect the
public); NVE Inc. v. Dep’t of Health & Human Servs., 436 F.3d 182, 196 (3d Cir. 2006)
(overturning trial court’s refusal to give “normal” deference to the “legal and factual determinations
the FDA made during rulemaking”); Colacicco v. Apotex, Inc., 432 F. Supp. 2d 514, 538 (E.D. Pa.
2006) (plaintiff’s state- law failure to warn claims were preempted because the drug approval
“process required that the labeling be the same as that approved for the innovator drug” and “the
FDA would have deemed any post-approval enhancements ‘false or misleading’”); 71 Fed. Reg.
3922, 3923-35 (Jan. 24, 2006) (“Consistent with its court submissions and existing preemption
principles, FDA believes that [claims that a drug sponsor breached an obligation to warn] would be
preempted by its regulation of prescription drug labeling . . . .”); 21 C.F.R. § 10.85(d)(1) and (e).




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                                                “RIDER B”
                                     [In the alternative to “Rider A”]


                                             FDA Approval


       The FDA is the expert federal public health agency charged by Congress with ensuring that

drugs are safe and effective and that their labeling adequately informs physicians of risks and

benefits of the product and is truthful and not misleading. The FDA carefully controls the content

of labeling for a prescription drug because labeling is the FDA’s principal tool for educating

healthcare professionals about the risks and benefits of the approved product to help ensure safe and

effective use. If you find that Merck’s labels for Vioxx were approved by the FDA, you must return

a verdict for Merck on all claims.




Authority: Buckman Co. v. Plaintiffs’ Legal Comm., 531 U.S. 341, 353 (2001) (permitting state-
court juries to impose the ir judgments on the adequacy of the drug approval process under state- law
standards “would exert an extraneous pull on the scheme established by Congress” to protect the
public); NVE Inc. v. Dep’t of Health & Human Servs., 436 F.3d 182, 196 (3d Cir. 2006)
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3922, 3923-35 (Jan. 24, 2006) (“Consistent with its court submissions and existing preemption
principles, FDA believes that [claims that a drug sponsor breached an obligation to warn] would be
preempted by its regulation of prescription drug labeling . . . .”); 21 C.F.R. § 10.85(d)(1) and (e).




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                                CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing Jury Charge Proposed by Merck & Co., Inc.

has been served on Liaison Counsel, Russ Herman and Phillip Wittmann, by U.S. Mail and e-

mail or by hand delivery and e- mail and upon all parties by electronically uploading the same to

LexisNexis File & Serve Advanced in accordance with PreTrial Order No. 8B, and that the

foregoing was electronically filed with the Clerk of Court of the United States District Court for

the Eastern District of Louisiana by using the CM/ECF system which will send a Notice of

Electronic Filing in accord with the procedures established in MDL 1657 on this 23rd day of

October, 2006.

                                             ______/s/ Dorothy H. Wimberly________________
